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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


CONNIE CHARTERS AND ALYCE SWEAZA,

       Plaintiffs,

v.                                               Cause No. 1:17-cv-00927

GEICO INDEMNITY COMPANY, an Insurance
Company authorized to do business in New Mexico,


       Defendant.

                                 NOTICE OF REMOVAL

       Defendant GEICO Indemnity Company (“GEICO”), by and through its counsel of

record, Chapman and Priest, P.C. (Stephen M. Simone and Jessica C. Singer), hereby

files this Notice of Removal pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, and in support

thereof, states as follows.

       1.     Plaintiffs Connie Charters and Alyce Sweaza, (“Plaintiffs”) filed their

Complaint (“Complaint”) in the Eleventh Judicial District, San Juan County, State of New

Mexico, in Cause No. D-1116-cv-2017-01136 on August 7, 2017.                 See Plaintiffs’

Complaint, hereto attached as Exhibit A.

       2.     GEICO was served with the Summons and Complaint on August 18, 2017.

See Acceptance of Service, attached hereto as Exhibit B.

       3.     In their Complaint, Plaintiffs state Plaintiff Sweaza is a resident of San Juan

County, New Mexico. Plaintiff Charters is a resident of Mesa County, State of Colorado.

Exhibit A at ¶ 1.
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